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            EXHIBIT 1
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

 MODERNATX, INC. and MODERNA US, INC.,

                      Plaintiffs,

        v.
                                                         C.A. No. 22-11378-RGS
 PFIZER INC., BIONTECH SE, BIONTECH
 MANUFACTURING GMBH, and BIONTECH                        JURY TRIAL DEMANDED
 US INC.,

                      Defendants.


    MODERNA’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS OVER
              WHICH BIONTECH HAS WAIVED PRIVILEGE

       Plaintiffs ModernaTX, Inc. and Moderna US, Inc. (collectively, “Moderna”) file this

motion to compel Defendants BioNTech SE, BioNTech Manufacturing GmbH, and BioNTech US

Inc. (collectively, “BioNTech”) to produce documents clawed back as privileged which concern

the same subject matter—



                            —as documents on which BioNTech has waived any privilege.

       For the reasons set forth in the memorandum filed herewith, Moderna respectfully requests

an order from the Court compelling production of all documents clawed back or withheld by

BioNTech concerning



     , including at least Entry Nos. 7-27 on BioNTech’s Third Supplemental Privilege Log,

Exhibit 12.
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       Moderna also respectfully requests that, if the Court orders production of documents

improperly clawed back or withheld by BioNTech, that the Court order BioNTech to produce a

corporate witness competent to testify about the documents. The deposition could be completed

in two hours or fewer.

                             REQUEST FOR ORAL ARGUMENT

       Plaintiffs would like to be heard on the issues presented in their motion and believe that

oral argument can assist the Court in resolving the parties’ dispute. Plaintiffs respectfully request

that the Court order oral argument.
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Date: January 19, 2024                Respectfully submitted,

                                      /s/ Kevin S. Prussia
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                                      Kevin S. Prussia (BBO# 666813)
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                                      Counsel for Plaintiffs ModernaTX, Inc. and
                                      Moderna US, Inc.
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        CERTIFICATION PURSUANT TO LOCAL RULES 7.1(a)(2) AND 37.1(b)

       Pursuant to Local Rules 7.1(a)(2) and 37.1(b), on December 12, 2023 (letter), December

22, 2023 (letter), January 3, 2024 (letter), January 4, 2024 (telephone), January 8, 2024 (letter),

January 9, 2024 (email), January 11, 2024 (letter), and January 17 (letter) counsel for Moderna

conferred in good faith with counsel for Defendants in an effort to resolve or narrow the issues

presented in this motion, but were unable to reach an agreement, and have complied with Local

Rules 7.1(a)(2) and 37.1(b).

                                CERTIFICATE OF SERVICE

       I certify that on January 19, 2024, I filed the foregoing document with the United States

District Court for the District of Massachusetts and caused it to be served on all registered

participants via email.



                                                          /s/ Kevin S. Prussia

                                                          Kevin S. Prussia (BBO# 666813)
